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                          IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                                                 PLAINTIFF

 v.                                     No. 5:12-cv-50035-002

 K. VAUGHN KNIGHT                                                                       DEFENDANT

                                               ORDER

        Currently before the Court is a motion (Doc. 156) in limine by Defendant, K. Vaughn Knight.

 Upon due consideration, the Court finds the motion should be DENIED.

        Knight moves the Court to preclude the Government and its witnesses from making any

 reference to or statement that Brandon Barber’s funds were placed in Knight’s trust account for the

 purpose of concealing the money from creditors. Knight argues that lawyers’ trust accounts are not

 inaccessible to third-party creditors and, therefore, any argument that Barber placed funds into

 Knight’s trust account to conceal the funds from creditors is both factually and legally incorrect. The

 Court cannot decide, based on Knight’s motion in limine, whether there is a factual basis for the

 Government’s allegations against Knight. Factual determinations are the province of the jury. The

 Court likewise cannot find that there is no legal basis for an allegation by the Government that funds

 may have been placed in Knight’s trust account for the purpose of hiding the funds from creditors.

 Whether or not a lawyer’s trust account may be accessible to third-party creditors is not

 determinative of a person or person’s intent in placing funds into such an account. The Court

 therefore finds that Knight’s motion in limine should be denied. This will not preclude Knight from

 raising any objections to specific argument or testimony at trial.

        IT IS THEREFORE ORDERED that Knight’s motion (Doc. 156) in limine is DENIED.


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        The parties are advised that they should be prepared to discuss the matters raised in the

 Government’s pending motion (Doc. 155) in limine at the pretrial conference set for 8:30 on

 Monday, November 4, 2013.

        IT IS SO ORDERED this 1st day of November, 2013.


                                                             /s/P. K. Holmes, III
                                                             P.K. HOLMES, III
                                                             CHIEF U.S. DISTRICT JUDGE




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